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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 CYNTHIA SMALLEY, CLIFFORD R. §
 MOORE, JR. AND CATHERINE M.     §
 MOORE, TRUSTEES ON BEHALF OF §
 C.R. & C.M. MOORE LIVING TRUST; §
 AND JERRY SELWEN, D/B/A SELWYN§
 PROPERTIES, SP,                 §
                                 §
 Plaintiffs,                     § CIVIL NO. 6:18-cv-00180-JDK
                                 §
 V.                              §
                                 § JURY TRIAL
 UNION PACIFIC RAILROAD          §
 COMPANY,                        §
                                 §
 Defendant.

                                       FINAL JUDGMENT

        Pursuant to the Joint Motion of Dismissal, the Court hereby enters Final Judgment.

 Plaintiffs Cynthia Smalley, Clifford R. Moore, Jr. and Catherine M. Moore, Trustees on Behalf of

 C.R. & C.M. Moore Living Trust; and Jerry Selwen d/b/a Selwyn Properties SP filed suit against

 Defendant Union Pacific Railroad Company on April 27, 2018.

        IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

 DISMISSED WITH PREJUDICE. All costs are to be borne by the party that incurred them.

        All motions by either party not previously ruled on are hereby DENIED.

        The Clerk of the Court is directed to close this case.

        So ORDERED and SIGNED this 15th day of January, 2019.



                                                   ___________________________________
                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE
